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FoR THE WESTERN DISTRICT oF TENNESSEE `/0[ 3/ "‘\QO
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CEDRIC D. wHITEsII)E a/k/a f»f@' ge 515§ §355//
MALCOLM WHITESIDE, /?5{@£/€/`5§§@
Plaimiff,
v. NO. 04-]220 T/An

DAVID WOOLFORK, Sheriff, et al.,

\J\_/*~_/\_/\_/\_/`\»/\_/\_¢\_/

Defendants.

 

ORDER DENYING MOTION TO COMPEL

 

Before the Court is Plaintiff"s Motion to Compel filed on June 20, 2005. After review,
the Court concludes that Plaintiff failed to meet the requirement for consulting With opposing
counsel required by Local Rule 7.2(a)(l)(B) of the Local Rules of the United States District
Court for the Western District of Tennessee. Local Rule 7.2(a)(1)(B) provides:

Consultation by Counsel. All motions, including discovery motions, but not
including motions pursuant to Fed. R. Civ. P. l2, 56, 59, and 60 shall be
accompanied by a certificate of counsel (With one copy) affirming that, after
consultation between the parties to the controversy, they are unable to reach an
accord as to all issues or that all other parties are in agreement With the action
requested by the motion. Failure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.

The certificate must contain the names of participating counsel and the date and
manner of consultation The burden Will be on counsel filing the motion to
initiate the conference upon giving reasonable notice of the time, place and
specific nature of the conference If an opposing counsel or party refuses to
cooperate in the conduct of a conference, counsel must file certificate to that
effect, setting out counse]’s efforts to comply with this rule.

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Therefore, because it appears Plaintiff did not make an attempt to consult With Defendants’
counsel, as required by the Local Rules, the instant motion is DENIED Without prejudice

IT is so oRI)ERED. / /
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: C% 20, ZCD(

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case l:04-CV-01220 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

